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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/


         ROGER STONE’S MOTION REQUESTING A SHOW CAUSE ORDER

       Defendant Roger J. Stone, Jr., requests a show cause order to determine whether the

Court’s Order sealing the indictment of Roger J. Stone until his arrest, was violated by the

premature release of a draft copy of the sealed indictment, enabling news media to attend and

witness Stone’s 6 a.m. arrest.

                                 FACTUAL BACKGROUND

       Roger Stone has been charged with lying to Congress and witness tampering under 18

U.S.C. §§ 1001, 1505, 1512 and 18 U.S.C. §2. On January 24, 2019, after securing Mr. Stone’s

indictment by the grand jury, the government moved to seal the court files and proposed an

order granting its request. (ECF No. 2). The Court granted the motion and sealed the documents,

including the indictment, until Mr. Stone was “in custody.” See Order sealing, ECF No.3,

January 24, 2019. Thus, the Court ordered that the indictment was not to be a matter of public

record until after Mr. Stone was arrested, taken into custody by the government, and the Court
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notified, so that the Court could instruct that the actual indictment be unsealed and placed on the

public docket.

       The FBI arrested Roger Stone at 6:06 a.m. on January 25, 2019. At that time the

indictment remained subject to the Court’s Order sealing it from public disclosure. At 4:58 a.m. a

news crew and truck arrived at Mr. Stone’s residence and set up a camera on the street in front of

Mr. Stone’s house, obviously awaiting his arrest. The FBI arrived while the camera crew was on

the street. At 6:11 a.m., prior to Mr. or Mrs. Stone calling counsel, a reporter for the same news

outlet as the camera crew called counsel and informed him that Mr. Stone had been arrested. At

6:22 a.m., the same reporter sent counsel a text message attaching a draft copy of the still sealed

indictment. (See Exhibit 1). The copy of the unsigned indictment provided by the reporter

appears to have come from the Special Counsel’s Office. (See Exhibit 2). The reporter offered

that the copy had been received from the Special Counsel’s Office.

       The “draft” indictment contained no PACER designation across the top of any page. The

metadata of the “draft” indictment, which was in PDF (portable document format), indicates that

the last “modification” of the document was on January 23, 2019, at 11:04 p.m., “author[ed]” by

“AAW” from "Company: JCON,” which appears to be a reference to the Justice Consolidated

Office Network. (See Exhibit 3).1 The metadata does not establish that “AAW” sent the “draft”

of the sealed indictment to the reporter who texted it to Mr. Stone’s counsel on January 25,

minutes after the arrest. But it does mean that a person with privileged access to a “draft” of

Roger Stone’s Indictment, identical to that which had been filed under seal and which was

stamped “sealed” in red, with the appropriate PACER markings, had – in violation of the Court’s

1
        Metadata describes and gives information about other data. A document’s metadata
contains facts relating to the author, the computer and network on which it was created, the time
it was created, etc. Metadata travels with a document unless a program is used to strip it out of
the document.
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Order – publicly distributed the Indictment prior to its release from the sealing ordered by the

Court.

         According to the PACER docket entry, the Indictment was unsealed and entered onto the

public docket on January 25, 2019, without a notation as to time, and contained only the initials

of the person who created the entry, “zvt.” The Clerk’s office informed counsel for Mr. Stone

that the Indictment’s entry into the docket was made on January 25 at 8:55 a.m., more than two-

and-a-half-hours after the news reporter sent the “draft” Indictment to counsel, and four hours

after the news organization’s camera crew arrived at Mr. Stone’s house to film his arrest on the

sealed Indictment.

         The Court’s order sealing the Indictment stated:

                IT IS FURTHER ORDERED that the government shall inform the
                Court as soon as the defendant named in the Indictment is in
                custody so that the foregoing materials can be unsealed and entered
                on the public docket.

         That Stone’s 6:06 a.m. arrest preceded, by three hours, the Court being informed, is par

for the course. What is not par for the course is that a news crew knew the time and place of the

arrest, and was “staked out” to watch the arrest unfold, having been provided an unfiled, draft

copy of the indictment the Court had ordered sealed.

                                   MEMORANDUM OF LAW

         The Court has inherent authority to enforce its own orders. Title 18 U.S.C. §401

provides:

                A court of the United States shall have power to punish by fine or
                imprisonment, or both, at its discretion, such contempt of its
                authority, and none other, as – (1) misbehavior of any person in its
                presence or so near thereto as to obstruct the administration of
                justice; (2) misbehavior of any of its officers in their official
                transactions; (3) disobedience or resistance to its lawful writ,
                process, order, rule, decree, or command.
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       Furthermore, "Federal Rule of Criminal Procedure 6(e)(2) prohibits public disclosure by

Government attorneys of 'matters occurring before the grand jury' except in certain specified

circumstances." Midland Asphalt Corp. v. United States, 489 U.S. 794, 795 (1989). The

Indictment in this case was not a “specified circumstance” at, or before, Roger Stone's arrest. In

fact, the court files were sealed and should have remained sealed, until unsealed by instruction of

the Court to the Clerk. The Indictment’s selective disclosure prior to the Court instructing that

Mr. Stone's court docket be unsealed was a clear violation of Rule 6.

       A prima facie case of a violation of Rule 6(e)(2) is made when “the media reports

disclosed information about ‘matters occurring before the grand jury’ and indicated that the

sources of the information included attorneys and agents of the Government.” Barry v. United

States, 865 F.2d 1317, 1319 (D.C. Cir. 1989) (citations omitted). Roger Stone has presented a

prima facie case of a Rule 6(e) violation. Only the government had access to the indictment prior

to the Court unsealing the court files. Yet, a reporter had a draft of the Indictment prior to its

unsealing at 8:55 a.m. on January 25, 2019.

               Once a prima facie case is shown, the district court must conduct a
               "show cause" hearing to determine whether the Government was
               responsible for the pre-indictment publicity and whether any
               information disclosed by the Government concerned matters
               occurring before the grand jury. At this hearing, the burden shifts
               to the Government to come forward with evidence to negate
               the prima facie case. If after such a hearing the trial court
               determines that remedial action is warranted, it may order the
               Government to take steps to stop any publicity emanating from its
               employees.
Id. at 1321.

       Available relief under Rule 6(e) may include contempt sanctions and equitable

relief, i.e., based upon the nature of the violation. Id. "A knowing violation of Rule 6 may be

punished as a contempt of court.” Fed.R.Crim.P. 6(e)(2). The public release of a grand jury
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Indictment document sealed by the Court prior to Roger Stone’s arrest, directly and willfully

violated a lawful order of the Court and compromised the secrecy of grand jury proceedings in

violation of Rule 6(e) of the Federal Rules of Criminal Procedure.

         The metadata on the “draft” indictment provided by a reporter while Stone was being

arrested, established that it came from an “AAW” author or computer. That a member of the

Special Counsel’s office has the initials “AAW,” supports a reasonable inference that that office

is responsible for the unlawful public disclosure of a grand jury document sealed by order of the

Court.

                                         CONCLUSION

         Therefore, Roger Stone, by counsel, requests a show cause order directed to the Office of

the Special Counsel to show cause why contempt did not occur.

                                                 Respectfully submitted,
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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on February 13th, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day

on all counsel of record or pro se parties, via transmission of Notices of Electronic Filing

generated by CM/ECF.

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